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United States Gistrict Court

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prbiie and unefficiat stat AMATHD STATES DISTRICT COURT FOR THE 1 30 2009
to this instrumentare = BOUTHERN DISTRICT OF TEXAS JU
prohibliss 2 BROWNSVILLE DIVISION

Clerk of Court,
UNITED STATES OF AMERICA §
V. § CRIMINAL NO. B-00-118-S1-01
OSIEL CARDENAS-GUILLEN §
PLEA AGREEMENT

COMES NOW the United States of America, by and through its attorneys Tim
Johnson, United States Attorney for the Southern District of Texas, and the undersigned
Assistant United States Attorney, and Defendant, OSIEL CARDENAS-GUILLEN, and
Defendant's counsel, pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal
Procedure, and state that they have entered into an agreement, the terms and conditions
of which are as follows:

1. Defendant agrees to plead guilty to Counts One, Fourteen, Fifteen, Sixteen, and
Seventeen of the Indictment. Count One of the indictment charges Defendant with
Conspiracy to Possess with Intent to Distribute Controlled Substances, in particular, more
than 5 kilograms of cocaine and more than 1000 kilograms of marijuana, in violation of Title
21, United States Code, §§ 846, 841(a)(1), and 841(b)(1)(A); Counts Fourteen, Fifteen and
Sixteen of the indictment charge Defendant with Threatening to Murder a Federal Law
Enforcement Officer, in violation of Title 18, United States Code, § 115 and Title 18, United
States Code, § 2 ; and Count Seventeen charges Defendant with Conspiracy to Launder
Monetary Instruments, in violation of Title 18, United States Code, Sections
1956(a)(1)(A)(i), 1956(a)(2)(A), and 1956(h). Defendant agrees that a sentence of

imprisonment for twenty-five (25) years as to Count One, five (5) years as to Counts
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Fourteen, Fifteen, and Sixteen, and twenty (20) years as to Count Seventeen, to run
concurrently, is the appropriate disposition of the case. Defendant further agrees that any
fine and/or restitution, as well as the term of supervised release, will be determined by the
Court. Defendant further agrees to forfeit to the United States fifty (50) million dollars and
further agrees to the imposition of a money judgment in that amount.

2. In exchange for Defendant's plea of guilty and truthful testimony to the Court at
the time of Defendant's rearraignment and sentencing and for Defendant's truthful rendition
of facts to the U. S. Probation Department for the preparation of Defendant's Pre-sentence
Investigation Report, the United States agrees that a sentence of imprisonment for twenty-
five (25) years as to Count One, five (5) years as to Counts Fourteen, Fifteen, and Sixteen,
and twenty (20) years as to Count Seventeen, to run concurrently, is the appropriate
disposition of the case. The United States further agrees that any fine and/or restitution,
as well as the term of supervised release, will be determined by the Court. In addition, the
United States agrees that no further federal criminal charges will be brought against
Defendant in the Southern District of Texas for acts committed prior to the date of his
extradition to the United States, and the United States will move, after sentencing, to
dismiss the remaining counts of the superseding indictment and the original indictment
against him with prejudice.

3. The penalty for each violation of Title 21, United States Code, Sections 846,
841(a)(1) and 841(b)(1)(A), includes imprisonment for not less than ten (10) years or more

than life,’ a fine of not to exceed $4,000,000, or both; and a period of supervised release

'At the time the United States formally requested the extradition of Osiel
Cardenas-Guillen, the United States provided a letter to the Government of Mexico

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of at least five (5) years. The penalty for each violation of Title 18, United States Code,
Section 115, includes imprisonment for not more than 5 years or a fine of not more than
$250,000, or both; and a period of supervised release of not more than three (3) years.
The penalty for each violation of Title 18, United States Code, Sections 1956(a)(1)(A)(i),
1956(a)(2)(A), and 1956(h), includes a fine of not more than $500,000 or twice the value
of the monetary instruments or funds involved in the transportation, transmission, or
transfer whichever is greater, a maximum term of twenty (20) years imprisonment, or both;
and a period of supervised release of three (3) years. Defendant also acknowledges and
understands that if (s)he should violate the conditions of any period of supervised release
which may be imposed as part of his sentence, then Defendant may be imprisoned for the
entire term of supervised release without credit for time already served on the term of
supervised release prior to such violation. Defendant is not eligible for parole for any
sentence imposed.

4. Defendant will pay to the United States District Clerk a special assessment in the
amount of one hundred dollars ($100.00) per count of conviction, as required in Title 18,
United States Code, Section 3013(a)(2)(A). The payment will be by certified check payable
to United States District Clerk, Brownsville, Texas 78520.

5. Defendant understands that under the Sentencing Guidelines, the Court is
permitted to order Defendant to pay a fine that is sufficient to reimburse the United States

for the costs of any imprisonment or term of supervised release; if any is ordered.

assuring them that neither the death penalty nor life imprisonment would be sought nor
imposed in this case, and the giving of such assurances was an express Official
condition of the extradition.
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6. Defendant agrees that any fine or restitution imposed by the Court will be due
and payable immediately, and Defendant will not attempt to avoid or delay payment.

7. Defendant agrees to make complete financial disclosure by truthfully executing
a sworn financial statement (Form OBD-500) prior to sentencing if he/she is requested to
do so. Inthe event that the Court imposes a fine or orders the payment of restitution as
part of Defendant's sentence, Defendant shall make complete financial disclosure by
truthfully executing a sworn financial statement immediately following his/her sentencing.

8. Defendant agrees that the factual basis for his guilty plea supports the forfeiture
of at least $50,000,000.00. Defendant agrees to a personal money judgment against him
and in favor of the United States for fifty (50) million dollars.

9. Defendant admits that one or more of the conditions set forth in 21 U.S.C. §
853(p) exists. Defendant agrees to forfeit any of his property including his interest in any
property, up to the value of any unpaid portion of the money judgment and until the money
judgment is fully satisfied. Defendant agrees to assist the United States in satisfying the
fifty (50) million dollar money judgment and agrees to disclose all assets over which
Defendant exercises control, direct or indirect, or in which Defendant has any financial
interest.

10. Defendant agrees to take all steps necessary to pass clear title to forfeitable
assets to the United States, including, but not limited to, surrendering title, executing a
warranty deed, signing a consent decree, stipulating to facts regarding the transfer of title
and basis for the forfeiture, and signing any other documents necessary to effectuate such
transfer. Defendant also agrees to direct any banks that have custody of Defendant's
assets to deliver all funds and records of such assets to the United States.

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11. Defendant consents to the order of forfeiture becoming final as to the
Defendant immediately following this guilty plea pursuant to Fed.R.Crim. P. 32.2(b)(3).
Defendant waives the right to challenge the forfeiture of property, in any manner, including
by direct appeal or in a collateral proceeding.

12. Defendant is aware that Title 18, U.S.C. § 3742 affords a defendant the right
to appeal the sentence imposed. Defendant agrees to waive the right to appeal the

sentence imposed or the manner in which it was determined on any grounds set forth

in Title 18 U.S.C. § 3742. Additionally, Defendant is aware that Title 28, U.S.C. § 2255,

affords the right to contest or “collaterally attack” a conviction or sentence after the
conviction or sentence has become final. Defendant waives the right to contest his/her
conviction or sentence by means of any post-conviction proceeding, including but not
limited to Title 28, U.S.C. § 2255. If Defendant files a notice of appeal following the
imposition of sentence, the United States will seek specific performance of this provision.

13. In exchange for the Agreement with the United States, Defendant waives all
defenses based on venue, speedy trial under the Constitution and Speedy Trial Act, and
the statute of limitations with respect to any prosecution that is not time barred on the date
that this Agreement is signed, in the event that (a) Defendant’s conviction is later vacated
for any reason, (b) Defendant violates any provision of this Agreement, or (c) Defendant's
plea is later withdrawn.

14. In agreeing to these waivers, Defendant is aware that to the extent the plea
agreement is of the type specified in Rule 11(c)(1)(C), the Court may accept the

agreement, reject it, or defer a decision until the Court has reviewed the presentence
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report. Defendant is further aware that if the Court accepts the plea agreement, the agreed
disposition will be included in the judgment and Defendant will be sentenced to serve a
term of imprisonment of twenty-five (25) years on Count One, five (5) years as to Counts
Fourteen, Fifteen, and Sixteen, and twenty (20) years as to Count Seventeen, with the
sentences to run concurrently, and that a fine and/or restitution, if any, as well as the terms
of supervised release, will be determined by the Court. In addition, pursuant to the terms
of the plea agreement, a judgment of forfeiture against the Defendant in the amount of fifty
(50) million dollars will be entered by the Court.

15. Defendant is further aware that if the Court rejects the plea agreement, the
Court must inform the parties that the Court rejects the plea agreement; advise Defendant
personally that the Court is not required to follow the plea agreement and give Defendant
an opportunity to withdraw the plea; and advise Defendant personally that if the plea is not
withdrawn, the Court may dispose of the case less favorably toward Defendant than the
plea agreement contemplated. Defendant understands that if the Court rejects the plea
agreement and Defendant does not withdraw his plea, the Court has authority to impose
any sentence up to and including the statutory maximum set for the offense(s) to which
Defendant pleads guilty, and that the sentence to be imposed is within the sole discretion
of the sentencing judge after the Court has consulted the applicable Sentencing
Guidelines, which are advisory, as well as the provisions of Title 18, U.S.C. § 3553(a). The
Court may also order that any or all of the sentences imposed run consecutively.

16. Defendant understands and agrees that each and all waivers contained in the
Agreement are made in exchange for the concessions made by the United States in

paragraph 2 of this plea agreement.
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17. The United States reserves the right to carry out its responsibilities under
guidelines sentencing. Specifically, the United States reserves the right:

(a) tobring its version of the facts of this case, including its evidence file and any
investigative files, to the attention of the Probation Office in connection with
that office’s preparation of a presentence report;

(b) to set forth or dispute sentencing factors or facts material to sentencing;

(c) to seek resolution of such factors or facts in conference with Defendant's
counsel and the Probation Office; and,

(d) to file a pleading relating to these issues, in accordance with U.S.S.G.
Section 6A1.2 and Title 18, U.S.C.§ 3553(a).

18. Defendant is aware that if the Court accepts the plea agreement, the agreed

disposition will be entered in the judgment.

19. Defendant represents to the Court that he/she is satisfied that his/her attorneys
have rendered effective assistance. Defendant understands that by entering into this
agreement, he/she surrenders certain rights as provided in this plea agreement.
Defendant understands that the rights of a defendant include the following:

(a) If Defendant persisted in a plea of not guilty to the charges, Defendant

would have the right to a speedy jury trial with the assistance of counsel.
The trial may be conducted by a judge sitting without a jury if Defendant, the
United States, and the court all agree.

(b)  Atatrial, the United States would be required to present witnesses and other
evidence against Defendant. Defendant would have the opportunity to
confront those witnesses and his/her attorney would be allowed to cross-

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examine them. In turn, Defendant could, but would not be required to,
present witnesses and other evidence on his/her own behalf. If the
witnesses for Defendant would not appear voluntarily, he/she could require
their attendance through the subpoena power of the court.

(c) Ata trial, Defendant could rely on a privilege against self-incrimination and
decline to testify, and no inference of guilt could be drawn from such refusal
to testify. However, if Defendant desired to do so, he/she could testify on
his/her own behalf.

20. If Defendant should fail in any way to fulfill completely all of the obligations
under this plea agreement, the United States will be released from its obligations under
the plea agreement, and Defendant's plea and sentence will stand. If at any time
Defendant retains, conceals or disposes of assets in violation of this plea agreement, or
if Defendant knowingly withholds evidence or is otherwise not completely truthful with the
United States, then the United States may move the Court to set aside the guilty plea and
reinstate prosecution. Any information and documents that have been disclosed by
Defendant, whether prior to or subsequent to this plea agreement, and all leads derived
therefrom, will be used against Defendant in any prosecution.

21. This written plea agreement, consisting of ten (10) pages, including the
attached certifications of Defendant and his/her attorney, as well as the addendum to the
plea agreement, consisting of three (3) pages, including the attached certifications of
Defendant and his/her attorney, constitute the complete plea agreement between the
United States, Defendant and his/her counsel. No promises or representations have been
made by the United States except as set forth in writing in this plea agreement. Defendant

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acknowledges that no threats have been made against him/her and that he/she is pleading
guilty freely and voluntarily because he/she is guilty.

22. Any modification of this plea agreement must be in writing and signed by all

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Defendant

parties.

APPROVED:
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Assistant U. S. Attorney

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Michael Ramsey
Attorney for Defendant

Attorney for Defendant

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C.JAQdintanilla

Attorney for Defendant

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Chip B. Lewis
Attorney for Defendant

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CERTIFICATION BY THE DEFENDANT

| have consulted with my counsel and fully understand all my rights with respect
to the charge(s) pending against me. Further, | have consulted with my attorney and

fully understand my rights with respect to the provisions of the Sentencing Guidelines

and Policy Statements which may apply in my case. | have read this plea agreement

and carefully reviewed every part of it with my attorney. | understand this agreement

and | voluntarily agree to it.

Quis Cc doue/20 [2005

Defendant Date

CERTIFICATION BY ATTORNEY

| have fully explained to the defendant, his rights with respect to the pending
indictment/information. Further, | have reviewed the provisions of the Sentencing
Guidelines and Policy Statements and | have fully explained to the defendant the
provisions of those Guidelines which may apply in this case. | have carefully reviewed
every part of this plea agreement with the defendant. To my knowledge, the

defendant's decision to enter into this agreement is an informed and voluntary one.

Counsel for Defendant Date

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